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EXHIBIT I
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Balance Calculation for Written Off Account Report

The Luxury Haus —_—

Dealer

Requested By Krystal McKenzie

Report Date TUE 04/24/2018 10:23.54 AM
Summary

| Written Off Written Off

| Principal Interest Account-Level Post Write Off Post Write Off

|__and Fees Charges ___Interest = | ~—_—“ Payments Total |

| $6,237 568.14 $286,930.76 | $762,632.87 | ($455,413.20) $6,831,718.57
Written Off Principal, Interest, and Fees

Fir, wo | | Vehicle | = ,| Original Principal | OneDay | Fee Interest | Insurance | Other
Date Date | Days | VS | __ Description = Cir | VIN | Stk# [Ts _Disb | 5 Amount Balanco Loan Bal | I Bal: Balance | Bal: |
O20816 03/30/17 416 SOT 2013 LexusLS 460 Whi 018981 4365 TR S  ManheimPe $47,975.00 $0.00 $0.00 $40.00 $2,962.67 $0.00 $5.00
02/15/16 03/307 409 DIS 2072 FERRARI 458 ITALIA Whi 184522 4410 AU S Manheim ar $216,945.00 $23,592.45 $0.00 $40.00 $10,410.35 $0.00 $55.00
02/23/16 03/30/17 401 DIS 2070 Chevrolet Camaro SS Bla 174094 4423 AU B Trade-In $15,085.00 $0.00 $0.00 $40.00 $560.18 $0.00 $55.00
03/03/16 03/30/17 392 DIS 2073 Mercedes-Benz GL Class GL450 Unk 177974 4465 AU S Manheim Pa $44,880.00 $10,090.00 $0.00 $40.00 $1,906.48 $0.00 $55.00
O3MO/16 03/30/17 385 SOT 2012 Mercedes-Benz S Class S63 Unk 449133 4498 GO $ — AutoWhole $56,500.00 $0.00 $0.00 $40.00 $3,074.18 $0.00 $5.00
03096 03/30/17 386 DIS 2015 BMW M4 Unk 967702 4502 AU S Manheim Or $69,055.00 $14,140.00 $0.00 $40.00 $2,936.48 $0.00 $55.00
Ow096 02/30/17 386 SOT 2014 BMW Mé Gran Coupe Unk 467283 4504 GD S — Manheim Or $67,955.00 $0.00 $0.00 $40.00 $3,744.32 $0.00 $5.00
ORO/TG 03/90/17 385 SOT 2014 Mercedes-Benz E Class E350 Bla 923965 4507 GD S  ADESANew $30,845.00 $0.00 $0.00 $40.00 $1,225.19 $0.00 $5.00
030s §«03/30/7 385 BIS 2013 BMW X6 XDrive3si Bla 787415 4510 AU S Manheim Ri $36,295.00 $5,225.00 $0.00 $40.00 $1,458.22 $0.00 $56.00
0306 03/3017 385 DIS 2015 BMW M4 Blu 333584 «4511 AU S$ — Manheim RE $66,005.00 $12,221.00 $0.00 $40.00 $2,737.76 $0.00 $55.00
Os11/6 03/3017 384 DIS 2014 Audi sa Red 002598 4521 AU S Manheim Pe $71,195.00 $8,280.00 $0.00 $40.00 $2,853.19 $0.00 $55.00
0316/6 03/30/17 379 SOT 2014 Mercedes-Benz CL Class CLSS50 Bla 031666 4555 TR S Auto Whole $54,500.00 $0.00 $0.00 $40.00 $2,942.54 $0.00 $5.00
ogi7/16 03/30/17 378 SOT 2014 LEXUSLS 460L Whi 006381 4559 XX § Manheim Pe $55,905.00 $0.00 $0.00 $40.00 $3,014.42 $0.00 $55.00
03/17/16 03/30/17 378 DIS 2013 BMW 53SIA XDR Unk 75942 4566 AU S Manheim Pe $35,470.00 $9,180.00 $0.00 $40.00 $1,458.63 $0.00 $55.00
O¥t7/16 03/3017 378 SOT 2071 AUDIRE Whi 000283 4577 GD S Manheim Pe $97,198.00 $0.00 $0.00 $40.00 $5,236.80 $0.00 $5.00
0317/16 0330/7 378 DIS 20°27 BMWX5M Bla L15995 4581 AU S Manheim Pe $53,920.00 $9,130.00 $0.00 $40.00 $2,182.03 $0.00 $55.00
0347/16 03/30/17 378 DIS  20°0 Mercedes-Benz C Class C300 Unk 098658 4587 AU B Trade-in $8,540.00 $3,320.00 $0.00 $40.00 $392.04 $0.00 $55.00
03/17/16 03/30/17 378 SOT 2031 Mercedes-Benz C Class C300 Unk 150784 4591 FR 8B Trade-In $12,431.00 $0.00 $0.00 $40.00 $671.99 $0.00 $5.00
03/25/16 03/30/17 370 SOT 2072 JEEP CHER SRT8 Bla 148484 4620 GD $ Manheim Pe $39,125.00 $39,125.00 $0.00 $40.00 $2,192.14 $0.00 $5.00
03/286 03/90/17 367 DIS 2013 BMW 535IA XDR Unk 70273 4636 AU S — myCentral $31,150.00 $6,630.00 $0.00 $40.00 $1,198.40 $0.00 $55.00
03/31/16 03/30/17 364 DIS 2015 Mercedes-Benz C Class C350 Whi 356259 4663 AU B Trade-In $30,000.00 $3,980.00 $0.00 $40.00 $1,088.26 $0.00 $55.00
040118 03/3017 363 DIS 2012 RAM 1500 SPT Red 108351 4666 AU S Manheim Pe $24,225.00 $3,505.00 $0.00 $40.00 $900.30 $0.00 $55.00
04/04/16 03/30/17 360 SOT 2011 Land Rover Range Rover Supercharged Unk 340589 4681 AU B Trade-In $35,200.00 $0.00, 30.00 $40.00 $1,802.35 $0.00 $5.00
O4i04/i6 03/90/17 360 DIS 2010 FERRARI CALIFORNIA Whi 168397 4689 AU B Manheim We $138,055.00 $40,264.50 $0.00 $40.00 $5,689.24 $0.00 $55.00
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Balance

$2,907.67
$34,097.80
$655.18
$12,091.48
$3,119.18
$17,171.48
$3,789.32
$1,270.19
$6,778.22
$15,053.76
$11,828.19
$2,887.54
$3,109.42
$10,733.63
$5,281.80
$11,407.03
$3,807.04
$716.99
$41,362.11
$7,923.40
$5,163.26
$4,500.30
$1,847.35
$46,048.74
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Written Off Principal, Interest, and Fees

| Fir. Vehicle Original Principal | OneDay | Fee Interest | Insurance | Other Total
L _ Date L Date | awe wl = ____ Description ; Clr VIN | Stk# | TS | Disb Amount Balance Loan Bal | Balance Balance Balance Balance Balance
ovIgié O830/17 195 2011 Infiniti OX56 Unk 003200 5759 AU S Ally Bank $25,800.00 $3,511.19 $0.00 $40.00 $504.06 $0.00 $105.00 $4,160.25
ONNGi6 O3/30/17 195 a 2008 BMW 5-Series 550i Unk T50078 5760 AS § ALASKA USA $10,225.00 $10,225.00 $0.00 $40.00 $308.23 $0.00 $55.00 $10,628.23
ovigi6 OW30/17 1995 DIS 2070 Nissan Maxima SV Unk 664602 S761 AU S Hudson Val $10,650.00 $2,657.00 $0.00 $40.00 $257.34 $0.00 $105.00 $3,059.34
OsNené Oa/30/i7 195 SOT 2070 Mercedes-Benz C Class C300 Whi 125805 5762 FR §& Manheim Pe $14,305.00 $14,305.00 $0.00 $40.00 $428.61 $0.00 $5.00 $14,778.61
ONI616 O330/17 195 SOT 2074 Ram 1500 Spon Unk 207596 5763 XX S$ Manheim Pe $27,640.00 $27,640.00 $0.00 $40.00 $826.89 $0.00 $5.00 $28,511.89
OON6NG O3a0/1T 996 DIS 2014 Ram 1500 Laramie Whi 220165 5764 AU S Manheim Pe $27,420.00 $0.00 $0.00 $40.00 $206.31 $0.00 $55.00 $301.31
og1e16 Ogv3O/17 95 DIS 2093 Ram 1500 SLT Whi = S79784 5765 AU S Manheim Pe $23,190.00 $3,900.00 $0.00 $40.00 $291.64 $0.00 $55.00 $4,286.64
ON1616 O390/17 195 DIS 2013 Ram 1500 Sport Whi 629727 5766 AU S Manheim Pe $26,320.00 $4,500.00 $0.00 $40.00 $313.08 $0.00 $55.00 $4,908.08
OSM6N6 O830/17 195 DIS 2013 Ram 1500 Sporn Bla 615118 S767 AU S Manheim Pe $23,905.00 $335.00 $0.00 $40.00 $230.33 $0.00 $55.00 $660.33
ONi616 O890/17 195 SOT 2093 Ford F150 FxX4 Bla FT4650 5768 AU S Manheim Pe $28,890,00 $26,890,00 $0.00 $40.00 $864.23 $0.00 $5.00 $29,799.23
OSI616 O3S0/17 195 SOT 2093 Ford F150 FxX4 Bla cCeg9792 S769 XX SS Manheim Pe $30.060.00 $30,060.00 $0.00 $40.00 $899.19 $0.00 $5.00 $31,004.19
OON6N6 O8S0N7 195 DIS 2094 Ford F150 FX4 Bla G37662 5770 AU S Manheim Pe $29,140.00 $7,005.00 $0.00 $40.00 $630.13 $0.00 $105.00 $7,780.13
ONG O890/17 195 DIS 2012 Mercedes-Benz M Class ML350 Bla O74785 S771 ALS Manheim Pe $26,640.00 $2,570.00 $0.00 $40.00 $273.57 $0.00 $55.00 $2,938.57
Oiené O830/17 195 DIS 2014 Mercedes-Benz M Class ML350 Whi 334744 5772 AU S Manheim Pe 337,475.00 $7,175.00 $0.00 $40.00 $389.19 $0.00 $5.00 $7,609.19
oes O330/17 195 DIS 2013 Mercedes-Benz M Class ML550 Bla 232429 5773 AU S&S Manheim Pe $39,535.00 $3,350.00 $0.00 $40.00 $415.75 $0.00 $55.00 $3,860.75
Oge/1é6 03/30/17 195 DIS 2013 BMW X5 XDriveSdi Bla 426470 5775 AU S Manheim Pe $25,205.00 $4,215.00 $0.00 $40.00 $322,309 $0.00 $55.00 $4,632.39
Ogig6 O330/17 192 DIS 2014 Jeep Grand Cherokee SRT Bia 494036 5776 AU §& Manheim Or $47,615.00 $7,095.00 $0.00 $40.00 $520.39 $0.00 $55.00 $7,710.39
oats oOso/I7 19? DIS 2014 Jeep Grand Cherokee SRT Whi = 379804 S777 AU S Manheim Or $48,315.00 $4,775.00 $0.00 $40.00 $602.20 $0.00 $55.00 $5,472.20
ogee O9/380/17 192 DIS 2013 Mercedes-Benz M Class MLG3AMG Unk 167949 S778 AU S Wells Farg $51,900.00 $8,610.00 $0.00 $40.00 $816.70 $0.00 $105.00 $9,571.70
oTs16 O07 196 DIS 2015 GMC 2500HD SLT Whi 643461 5779 AU S Manheim De $50,965.00 $3,945.00 $0.00 $40.00 $507.31 $0.00 $55.00 $4,547.31
ownsié6 o307 196 DIS 2016 GMC 1500 DEN Whi 189521 5780 AU S Manheim De $45,335.00 $2,545.00 $0.00 $40.00 $468.05 $0.00 $55.00 $3,108.05
O*ISN6 ONS0I7T 196 DIS 2014 FORD F150 FX4 Bla F57832 5781 AU S Manheim De $32,270.00 $3,230.00 $0.00 $40.00 $363.56 $0.00 $55.00 $3,688.56
O8PONG O230/17 m1 DS 2014 Dodge Challenger R/T Unk 225326 57#3 AU § A.W, Auto $26,500.00 $2,930.00 $0.00 $40.00 $278.43 $0.00 $55.00 $3,303.43
owv20/t6 O3/30/17 ‘91 DIS 2012 Land Rover Range Rover Sport HSE Lux Whi 756038 5784 AU § Buffalo Au $29,005.00 $685.00 $0.00 $40.00 $234.43 $0,00 $55.00 $1,014.43
o20/16 O3/30N7 191 DIS 2014 Ford F150 XL Bla C20109 5785 AU § Buffalo Au $35,570.00 $4,050.00 $0.00 $40.00 $356.92 $0.00 $55.00 $4,501.92
O9216 O3/30/17 190 SOT 2073 Jeep Wrangler Sahara Bla 642748 S786 XX B Trade-In $26,300.00 $26,300.00 $0.00 $40.00 $767.49 $0.00 $5.00 $27,112.49
O92116 03/30/17 190 SOT 2074 BMW 335IX MSPT Unk R90294 5788 XX S$ myCentral $29,875.00 $29,875.00 $0.00 $40.00 $871.63 $0.00 $5.00 $30,791.63
o2116 O/30/17 190 DIS 2074 BMW X6 351 Unk C4032 5789 AU S myCentral $35,150.00 $360.00 $0.00 $40.00 $268.13 $0.00 $55.00 $723.13
og/2116 O3017 190 DIS 2014 BMW X6 50i Unk 592359 5790 AU S myCentral $42,750.00 $2,930.00 $0.00 $40.00 $403.15 $0.00 $55.00 $3,428.15
O2116 O3/017 1909 SOT 2008 Mini Cooper Clubman Unk N67S58 5791 AU § Santander $4,300.00 $2,742.75 $0.00 $40.00 $87.02 $0.00 $55.00 $2,924.77
og2i6 = OMaO/17 190 DIS 2012 Toyota Camry XLE Unk 045670 5792 AU B Trade-In $10,085.00 $1,285.00 $0.00 $40.00 $104.54 $0.00 $5.00 $1,434.54
oisié O3a0/17 192 DIS 2013 BMW X5 351 PRM Unk 621482 5794 AU S myCentral $25,250.00 $1,680,00 $0.00 $40.00 $231.78 $0.00 $55.00 $2,006.78
Oieré dO8/30/17 19? DIS 2013 BMW X5 50! Unk C6312 5795 AU § myCentral $33,150.00 $6,760.00 $0.00 $40.00 $402.76 $0.00 $55.00 $7 257,76
oigié O3s/807 192 DIS 2013 BMW X65 50! Unk C15354 5796 AU S myCentral $33,750.00 $1,960.00 $0.00 $40.00 $302.72 $0.00 $55.00 $2,367.72
osien6é o3/207 192 DIS 2013 BMW 1351 CPE Unk Mi3498 S797 AU § myCeniral $22,350.00 $2,030.00 $0.00 $40.00 $217.29 $0.00 $55,00 $2,342.29
O91g6 OR307 192 DIS 2013 BMW X5351PRM Whi B21235 6798 AU §& myCentral $29,450.00 $3,630.00 $0.00 $40.00 $328.93 $0.00 $55.00 $4,053.93
Og9/16 O3/30/17 92 DS 2013 BMW X5 351 SPT Unk £09115 5799 AU S myCentral $31,975,00 $3,685.00 $0.00 $40.00 $326.77 $0.00 $55.00 $4,106.77
O9/2116 OSS0/17 $0 SOT 2013 Jeep Wrangler Sport Unk 516348 5800 XxX S$ Capital On $12,746.73 $12,746.73 $0.00 $40.00 $374.10 $0.00 $55.00 $13,215.83
09/2116 ON30/17 190 DIS 2013 BMW X6 501 Unk C17466 5801 AU S Manheim Or $34,605.00 $4,815.00 $0,00 $40.00 $361.25 $0.00 $55.00 $5,271.25
09/2216 033017 189 DIS 20°56 Chevrolet Silverado 1500 LTZ Gre 173195 5803 AU §& A.W. Auto $32,500.00 $3,460,00 $0.00 $40.00 $311.49 $0.00 $55.00 $3,866.49
09/2216 O3/9017 189 SOT 2070 Mercedes-Benz C Class C300 Whi 401699 5804 XX § A.W, Auto $13,500.00 $13,500.00 $0.00 $40.00 $392.60 $0.00 $5.00 $13,937.60
og2216 O3/S0/7 189 DIS 2012 Nissan Maxima SV Blu 827685 5805 AU § TD AUTO FI $11,500.00 $797.00 $0.00 $40.00 $109.01 $0.00 $55.00 $1,001.01
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Written Off Principal, Interest, and Fees

Fl. | wo Vehicle ‘| |
Data | Date | Days VS | Description cr | vin | stk# | Ts | Disb | _ Source
09/22/16 03/30/17 189 DIS 2072 Acura TSX Special Exition Unk 026780 5806 AU S  CPSAUTOF
09/22/16 03/30/17 189 DIS 2015 Chevrolet Corvette 206 Unk 601024 §807 AU S — Chrysler
oor22/i6 02/30/17 189 DIS 2015 RAM 1500 SPT Whi 551987 5808 AU S Manheim Al
09/20/16 03/30/17 191 DIS 2013 BMW Xt XDrive3si Unk 90904 5809 AU S — myCentral
09/23/16 O3/30/17 188 DIS 2074 Mercedes-Benz M Class ML350 Whi 361162 5810 AU S$ — ManheimPe
0923/6 03/30/17 188 DIS 2012 Mercedes-Benz M Class ML350 Unk 031244 5811 AU S AW. Auto
0926/16 O3/30/17 185 DIS 2016 Mercedes-Benz SL-Class AMG SL63 Ble 041894 5812 AU S ADESANew
oge2ié O330/I7 189 DIS 2014 FORD F250LAR Whi B7i611 S8i4 AU § Manheim De
0922/6 03/807 189 DIS  2074.GMC 3500 DEN Bla 138348 5815 AU § Manheim De
0926/6 03/90/17 185 DIS 2015 JEEP G CHER SRT Whi 655386 58:6 AU S — ManheimOh
0927/16 03/30/17 184 SOT 2073 FiatS00 Abarth Unk 646622 5817 XX B — Tradedn
0926/16 03/30/17 185 DIS  2014LEXUSIS 250 Bla 004509 5818 AU S Manheim Pe
09/23/16 03/30/17 188 «DIS 2013 BMW 3281 XDR SPT Unk 535687 5819 AU S —— myCentral
09/23/16 03/30/17 188 DIS 2013 BMW 3281XDR Unk 543411 5820 AU S — myCentral
09/23/16 03/30/17 188 DIS 2013 BMW 3281XDR SPT Unk 03536 5821 AU S — myCentral
Os23i6 O3/30/17 188 DIS 2013 BMW 3281 XDR Unk 539658 5822 AU § myCentral
09/23/16 03/30/17 188 DIS 2013 BMW 3351 XDR SPT Unk 587643 5823 AU S  myCentral
09/27/16 OS/30/17 184 DIS 2013 RAM 1500 SPT Whi 636526 5824 AU S Manheim Oh
09/27/16 03/3017 184 DIS 2014 FORD F150 FXxa Blu 48894 §826 AU S Manheim Oh
09/25/16 03/30/17 186 DIS 2015 MERCEDES GLAzsow4 Unk 149685 5827 AU $ — myCentral
09/28/16 03/3017 183 DIS 2010 Mercedes-Benz C Class C300 Unk 427001 5828 AU S A.W. Auto
O28/16 09/3017 183 DIS 2014 Mercedes-Benz M Class ML350 Unk 313002 5829 AU S = AW. Auto
09/28/16 03/307 183 SOT 2010 Mercedes-Benz GLK Class GLK350 Unk 404685 5830 XX S AW. Auto
092816 03/307 183 DIS 2007 Subaru Legacy Limited Gra 211954 6831 AU S$ — Hudson Her
O9ZB16 O3/307 783 SOT 2011 Ram 1500 SLT Bla 509960 5833 XX S FIRST NIAG
O9/28/16 03/3017 183 SOT 2008 BMW S-Series 528i Unk 110621 5834 XX S Financial
ooze O3/3017 183 DIS 2013 Acura TSX Gra 002239 45835 AU S  EXETERFIN
09/26/16 O3/30/17 163 SOT 2010 Mercedes-Benz $ Class $550 Unk 326140 5836 XX &B Trade-In
09/28/16 03/30/17 183 DIS  20°2 Jeep Grand Cherokee Limited Unk 290183 5837 AU S  AllyBank
09/28/16 03/30/17 183 DIS 2050 Mercedes-Benz C Class C300 Gra 442832 5838 AU S  — Americradi
09/28/16 03/90/17 183 DIS 2072 Nissan Quest LE Unk 047412 5839 AU S Nissan Mot
0928/16 03/30/17 183 DIS 2073 Nissan Quest LE Unk 067555 5840 AU S Nissan Mot
092616 ON3017 185 BIS 2013 BMW 528IA XDR Unk 115079 5841 AU S — myCentral
09/29/16 03/3017 182 DIS 2011 Honda Pilot EX-L Unk 047703 5842 AU B Trade-in
09/2916 03/9017 182 DIS 2015 Mercedes-Benz GLK Class GLK350 Unk 341278 5843 AU S AW. Auto
09/2616 ON30N17 185 DIS 2013 BMW XS 351 Unk BO6100 5844 AU S — myCentral
082916 03/3017 182 DIS 2015 Lexus GX 460 Luxury Unk 095498 5848 AU S Wells Farg
Totals for Dealer# 64989
Total Unit Count 481
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Original

_Amount _
$13,750.00
$69,332.36
$31,065.00
$26,575.00
$34,560.00
$25,000.00
$123,000.00
$46,780.00
$43,870.00
$45,715.00
$12,350.00
$26,905.00
$22,050.00
$20,250.00
$19,650.00
$20,150.00
$28,950.00
$27,015.00
$32,460.00
$30,850.00
$13,000.00
$32,500.00
$17,000.00
$4,125.00
$14,503.89
$7,675.00
$15,950.00
$27,600.00
$21,500.00
$10,085.00
$16,825.00
$20,068.37
$21,250.00
$16,450.00
$30,800.00
$28,075.00
$43,168.99
$16,318,228.51

|

Principal ‘One Day Feo Interest Insurance Other Total

Balance | LoanBal| Balance Balance | Balance | Balance | Balance
$20,00 $0,060 $40.00 $115.45 $0.00 $105.00 $200.45
$5,542.36 $0.00 $40.00 $621.53 $0.00 $55.00 $5,256.89
$1,745.00 $0.00 $40.00 $263,680 $0,00 $55.00 $2,103.80
$1,765.00 $0.00 $40.00 $240.25 $0.00 $55.00 $2,120.25
$3,990.00 $0.00 $40.00 $359.54 $0.00 $55.00 $4,444.54
$1,180.00 $0.00 $40.00 $225.10 $0.00 $55.00 $1,500.40
$26,686.00 $0.00 $40.00 $2,433.62 $0.00 $55.00 $29,214.62
$6,660.00 $0.00 $40.00 $483.86 $0.00 $55.00 $7,238.86
$660.00 $0.00 $40.00 $383.03 $0.00 $55.00 $1,158.03
$6,395.00 $0.00 $40.00 $466.47 $0.00 $55.00 $6,956.47
$12,350.00 $0.00 $40.00 $350.15 $0.00 $5.00 $12,745.15
$1,415.00 $0.00 $40.00 $204.32 $0.00 $55.00 $1414.32
$2,240.00 $0.00 $40.00 $522.22 $0.00 $55.00 $2,857.22
$830.00 $0.00 $40.00 $163.17 $0.00 $55.00 $1,088.17
$3,230.00 $0.00 340.00 $237.63 $0.00 $55.00 $3,562.63
$1,080.00 $0.00 $40.00 $167.90 $0.00 $55.00 $1,342.60
$1,830.00 $0.00 $40.00 $246.19 $0.00 $55.00 $2,171.19
$695.00 $0.00 $40.00 $191.91 $0.00 $55.00 $981.91
$1,140.00 $0.00 $40.00 $236.72 $0.00 $55.00 $1,471.72
$1,040.00 $0.00 $40.00 $703.94 $0.00 $55.00 $1,838.94
$1,833.48 $0.00 $40.00 $137.47 $0.00 $56.00 $2,065.95
$1,430.00 $0.00 $40.00 $238.52 $0.00 $55.00 $1,763.52
$17,000.00 $0.00 $40.00 $479.01 $0.00 $5.00 $17,524.01
$2,410.00 $0.00 $40.00 $87.46 $0.00 $55.00 $2,592.46
$14,503.89 $0.00 $40.00 $410.27 $0.00 $55.00 $15,009.16
$7,675.00 $0.00 $40.00 $218.36 $0.00 $55.00 $7,988.36
$5,160.00 $0.00 $40.00 $223.25 $0.00 $105.00 $5,528.25
$27,600.00 $0.00 $40.00 $776.69 $0.00 $5.00 $28,421.89
$585.00 $0.00 $40.00 $163.14 $0.00 $55.00 $843.14
$2,700.00 $0.00 $40.00 $134.96 $0.00 $105.00 $2,979.96
$605.00 $0.00 $40.00 $277.13 $0.00 $105.00 $1,027.13
$3,684.37 $0.00 $40.00 $366.26 $0.00 $105.00 $4,195.63
$680.00 $0.00 $40,00 $157.54 $0.00 $55.00 $932.54
$6,230.00 $0,00 $40.00 $248.53 $0.00 $55.00 $6,573.53
$2,780.00 $0.00 $40.00 $269.07 $0.00 $55.00 $3,144.07
$4,295.50 $0.00 $40.00 $357.57 $0.00 $55.00 $4,748.07
$5,578.99 $0.00 $40.00 $550.07 $0.00 «$105.00 $6,274.06
$5,759,407.48 $0.00 $19,200.00 $437,760.66 $0.00 $21,200.00 $6,237,568.14
